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    In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

***************** ***
FRANK FORTUNATO,                      *     No. 14-158V
                                      *     Special Master Christian J. Moran
                   Petitioner,        *
v.                                    *     Filed: February 2, 2015
                                      *
SECRETARY OF HEALTH                   *     Attorneys’ fees and costs; award
AND HUMAN SERVICES,                   *     in the amount to which
                                      *     respondent does not object.
                   Respondent.        *
********************
Danielle Strait, Maglio, Christopher & Toale, PA, Washington, DC, for Petitioner;
Amy Paula Kokot, U.S. Dep’t of Justice, Washington, DC, for Respondent.

               UNPUBLISHED DECISION ON FEES AND COSTS1

       On January 29, 2015, petitioner filed a stipulation of fact concerning final
attorneys’ fees and costs in the above-captioned matter. Previously, petitioner
informally submitted a draft application for attorneys’ fees and costs to respondent
for review. Upon review of petitioner’s application, respondent raised objections
to certain items. Based on subsequent discussions, petitioner amended his
application to request $21,200.00, an amount to which respondent does not object.
The Court awards this amount.

       On February 27, 2014, Frank Fortunato filed a petition for compensation
alleging that the influenza vaccine, which he received on or about December 13,
2012, caused him to suffer Guillain-Barré syndrome (“GBS”). Petitioner received
compensation based upon the parties’ stipulation. Decision, filed Jan. 8, 2015.
Because petitioner received compensation, he is entitled to an award of attorneys’
fees and costs. 42 U.S.C. § 300aa-15(e).


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          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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       Petitioner seeks a total of $21,186.00 in attorneys’ fees and costs for his
counsel. Additionally, in compliance with General Order No. 9, petitioner states
that he incurred $14.00 in out-of-pocket litigation expenses while pursuing this
claim. Respondent has no objection to the amount requested for attorneys’ fees
and costs.

        After reviewing the request, the Court awards the following:

        a. A lump sum of $21,186.00, in the form of a check made payable to
           petitioner and petitioner’s attorney, Danielle Strait, for attorneys’
           fees and other litigation costs available under 42 U.S.C. § 300aa-
           15(e).

        b. A lump sum of $14.00, payable to petitioner, Frank Fortunato, for
           costs he incurred in pursuit of his petition.

      The Court thanks the parties for their cooperative efforts in resolving this
matter. The Clerk shall enter judgment accordingly.

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6353.

        IT IS SO ORDERED.

                                              s/Christian J. Moran
                                              Christian J. Moran
                                              Special Master




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